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    UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MONTANA
                        MISSOULA DIVISION

MONTANA MEDICAL ASSOCIATION, ET. AL.,
                                            CV-21-108-M-DWM
                  PLAINTIFFS,

AND
                                            DEFENDANTS’ MOTION
                                            FOR CLARIFICATION OF
MONTANA NURSES ASSOCIATION,
                                            PRELIMINARY
                                            INJUNCTION
           PLAINTIFF-INTERVENORS,

      V.

AUSTIN KNUDSEN, ET AL.,

           DEFENDANTS.
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      Defendants hereby submit this Motion for Clarification and accom-

panying Brief in Support to respectfully request that the Court clarify its

March 18, 2022, Order, Doc. 53, granting in part and denying in part

Plaintiffs’ motion for preliminary injunction. Defendants seek clarifica-

tion regarding COVID-19 “booster doses,” the CMS Omnibus Covid-19

Health Care Staff Vaccination Interim Final Rule, 86 Fed. Reg. 61,568

(Nov. 5, 2021) (“CMS Rule”), and enforcement of MCA § 49-2-312. De-

fendants believe enforcement of MCA § 49-2-312 against health care fa-

cilities requiring employees to receive a COVID-19 booster dose is not

prohibited by this Court’s Order because the CMS Rule only requires

staff to be “fully vaccinated,” which is defined as “2 weeks or more since

they completed a primary vaccination series for COVID-19.” 86. Fed.

Reg. at 61571. Defendants, however, in an abundance of caution and

with due respect for the Court’s March 18 Order, seek clarification prior

to taking any further action.

      Counsel for Plaintiffs and Plaintiffs-Intervenors were contacted via

email and have indicated that they oppose this Motion for Clarification.




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      DATED this 11th day of April, 2022.

                                          Respectfully submitted.

                                          /s/ Christian Corrigan
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                            CERTIFICATE OF SERVICE

      I certify that on this date, an accurate copy of the foregoing docu-

ment was served electronically through the Court’s CM/ECF system on

registered counsel.

Dated: April 11, 2022                     /s/  Christian Corrigan
                                          CHRISTIAN CORRIGAN




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